
In re Thinh Tran, applying for supervisory and/or remedial writs, from the Criminal District, Parish of Orleans, Sec. F, No. 333-366, to the Fourth Circuit Court of Appeal No. 89KA-1606.
Granted in part; denied in part. Arrest was illegal because made without probable cause. Out-of-court photographic identification is suppressed as “fruit of the poisonous tree.” See State v. Landry, 414 So.2d 674 (La.1982). Victims may make an in-court identification of defendant. United States v. Crews, 445 U.S. 463, 100 S.Ct. *13161244, 63 L.Ed.2d 537 (1980). Case remanded to the district court for further proceedings.
